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              EXHIBIT 1
                             Case
B 10 (Modified Official Form 10) (4/13) 14-10867-BLS                     Doc 1914-1             Filed 10/24/18            Page 2 of 34
UNITED STATES BANKRUPTCY COURT, DISTRICT OF DELAWARE                                                                                              PROOF OF CLAIM

Indicate Debtor against which you assert a claim by checking the appropriate box below (Check only one Debtor per claim form):
XX Coldwater Creek Inc. (Case No. 14-10867)                    CWC Rewards Inc. (Case No. 14-10871)
 Coldwater Creek U.S. Inc. (Case No. 14-10868)                      Coldwater Creek Merchandising & Logistics Inc. (Case No. 14-10872)
 Aspenwood Advertising, Inc. (Case No. 14-10869)                    Coldwater Creek Sourcing Inc. (Case No. 14-10873)
 Coldwater Creek The Spa Inc. (Case No. 14-10870)                   CWC Sourcing LLC (Case No. 14-10874)
NOTE: Do not use this form to make a claim for an administrative expense that arises after the bankruptcy filing. You may file requests
                              for payment of an administrative expense according to 11 U.S.C. § 503.
Name of Creditor (the person or other entity to whom the debtor owes money or property):
 Delta Global Sourcing
 Ltd.                                                                                                                                             COURT USE ONLY
Name and address where notices should be sent:                                                                                                  ❐ Check this box if this
  Kurt Ramlo                                                                                                                                    claim amends a
                                                                                                                                                previously filed claim.
  Levene, Neale, Bender, Yoo & Brill L.L.P.
  10250 Constellation Blvd., Suite 1700                                                                                                         Court Claim Number:
  Los Angeles, CA 90067                                                                                                                         ______________
                                                                                                                                                  (If known)

                                                                                                                                                Filed
                      (310) 229-1234                        kr@lnbyb.com                                                                        on:__________________
Telephone number:                        email:
Name and address where payment should be sent (if different from above):                                                                        ❐ Check this box if you
 Delta Global Sourcing Ltd.                                                                                                                     are aware that anyone
 3/F Fook Cheong Building                                                                                                                       else has filed a proof of
 63 Hoi Yuen Road                                                                                                                               claim relating to this
                                                                                                                                                claim. Attach copy of
 Kwun Tong
                                                                                                                                                statement giving
 Hong Kong                                                                                                                                      particulars.
                      852-2152 6000
Telephone number:                               email: eddy@deltasourcing.com.hk

                                                                  2,300,484.42
1. Amount of Claim as of Date Case Filed:                    $_______________________________

If all or part of the claim is secured, complete item 4.

If all or part of the claim is entitled to priority, complete item 5.

❐Check this box if the claim includes interest or other charges in addition to the principal amount of the claim. Attach a statement that itemizes interest or charges.

                        goods delivered
2. Basis for Claim: _________________________________________________________________
   (See instruction #2)

3. Last four digits of any number             3a. Debtor may have scheduled account as:         3b. Uniform Claim Identifier (optional):
by which creditor identifies debtor:
                                               _____________________________                    __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __
      ___ ___ ___ ___                         (See instruction #3a)                              (See instruction #3b)
                                                                                                Amount of arrearage and other charges, as of the time case was filed,
4. Secured Claim (See instruction #4)                                                           included in secured claim, if any:
Check the appropriate box if the claim is secured by a lien on property or a right of
setoff, attach required redacted documents, and provide the requested information.                                              $__________________

Nature of property or right of setoff: ❐Real Estate          ❐Motor Vehicle    ❐Other           Basis for perfection: _______________________________________
Describe:

Value of Property: $________________                                                            Amount of Secured Claim:         $__________________

Annual Interest Rate_______% ❐Fixed or ❐Variable                                                Amount Unsecured:                $__________________
(when case was filed)

5. Amount of Claim Entitled to Priority under 11 U.S.C. § 507 (a). If any part of the claim falls into one of the following categories, check the box specifying
the priority and state the amount.

❐ Domestic support obligations under 11           ❐ Wages, salaries, or commissions (up to $12,475*)         ❐ Contributions to an
U.S.C. § 507 (a)(1)(A) or (a)(1)(B).              earned within 180 days before the case was filed or the    employee benefit plan –
                                                  debtor’s business ceased, whichever is earlier –           11 U.S.C. § 507 (a)(5).
                                                  11 U.S.C. § 507 (a)(4).                                                                Amount entitled to priority:

❐ Up to $2,775* of deposits toward                ❐ Taxes or penalties owed to governmental units –          ❐ Other – Specify           $______________________
purchase, lease, or rental of property or         11 U.S.C. § 507 (a)(8).                                    applicable paragraph of
services for personal, family, or household                                                                  11 U.S.C. § 507 (a)(__).
use – 11 U.S.C. § 507 (a)(7).

*Amounts are subject to adjustment on 4/1/16 and every 3 years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                      6/6/2014



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                   In re Coldwater Creek Inc. et al., Case No. 14-10867 (BLS)

                                 Attachment to Proof of Claim of

                                   Delta Global Sourcing Ltd.

         1.     Distributions. As of June 5, 2014, Delta Global Sourcing Ltd. (“Creditor”) has
received $1,181,632.36 in payments from third parties with respect to its claims against the four
Debtors listed below. Thus, Creditor is entitled to no more than $1,118,852.06 in distributions
on account of its $2,300,484.42 in claims against the Debtors Coldwater Creek Inc., Coldwater
Creek US Inc., Coldwater Creek Merchandising & Logistics Inc., and Coldwater Creek The Spa
Inc., all of whom are listed as parties to the Master Vendor Agreement dated March 23, 2009, the
purchase orders from the Debtors, and other related documents and communications from the
Debtors.

       2.     Attachments. Attached to this proof of claim are (a) a copy of the Master Vendor
Agreement dated March 23, 2009, (b) a copy of a purchase order from the Debtors, (c) a
summary of the invoices for goods which were ordered by and delivered to the Debtors but
which remained unpaid as of the petition date, and (d) copies of invoices and shipping
documents relating to goods which were ordered by and delivered to the Debtors but which
remained unpaid as of the petition date.

         3.     Reservation of Rights. Creditor reserves all rights it may now or any time
hereafter have against the Debtor, or any other entity or person, and any property held by the
Debtor or any such entity or person. This claim is not intended to be, and shall not be construed
as: (1) an election of remedies; (2) a waiver of defaults; or (3) a waiver of limitation on any
rights, remedies, claims, or interests of Creditor. Creditor reserves any and all rights with respect
to the Master Vendor Agreement and related documents (and any other claims it may file in the
Debtor’s bankruptcy case), including, but not limited to, the right to: (a) amend, update, or
supplement this proof of claim at any time and in any respect; (b) file additional proofs of claim;
(c) file requests for the payment of administrative or priority expenses in accordance with
11 U.S.C. §§ 365, 503, 507; and (d) amend, update, or supplement the proof of claim for any
reason, including to add additional amounts due and owing and related documents.

         4.      No consent to jurisdiction. By filing this proof of claim, Creditor does not submit
to the jurisdiction of this Court for any purpose other than with respect to this claim, and Creditor
does not waive, and specifically preserves all of its procedural and substantive defenses to, any
claim that may be asserted against Creditor by the Debtor or by any trustee of the Debtor’s
estate, including any defense based upon the lack of jurisdiction of this Court to entertain such a
claim or to enter a final judgment thereon.
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       5.      Service of objections or claim-related pleadings. Any objection or other contested
matter or adversary proceeding initiated with respect to this proof of claim must be served on:

                             Kurt Ramlo
                             Levene, Neale, Bender, Yoo & Brill L.L.P.
                             10250 Constellation Blvd., Suite 1700
                             Los Angeles, CA 90067

                                                 -and -

                             Delta Global Sourcing Ltd.
                             c/o B&Y Global Sourcing LLC
                             527 West 7th Street Suite 1000, 10th Floor
                             Los Angeles, CA90014
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                Exhibit A




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                    Exhibit B




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                    Exhibit C




                    Exhibit C
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          A            B               C            D            E             F                G                  H             I                        J
 1 CWC claim amount summary
 2
 3   Invoice No.    CR Date          CPO#       Amount USD    Due Date      ETD Date         ETA Date          HBL#     Actual Arrival Date   CWC Pick Up Container Date
 4    S140033        03-Jan-2014   5100670396      8,458.92   17-Feb-2014    06-Jan-2014      03-Feb-2014 HKG2464364            02-Feb-2014                   04-Feb-2014
 5    S140034        03-Jan-2014   5100670398      4,229.46   17-Feb-2014    06-Jan-2014      03-Feb-2014 HKG2464364            02-Feb-2014                   04-Feb-2014
 6    S140035        03-Jan-2014   5100677508      8,004.25   17-Feb-2014    06-Jan-2014      03-Feb-2014 HKG2464364            02-Feb-2014                   04-Feb-2014
 7    S140036        03-Jan-2014   5100681107    126,301.87   17-Feb-2014    06-Jan-2014      03-Feb-2014 HKG2464364            02-Feb-2014                   04-Feb-2014
 8    S140037        03-Jan-2014   5100681111      8,140.20   17-Feb-2014    06-Jan-2014      03-Feb-2014 HKG2464364            02-Feb-2014                   04-Feb-2014
 9    S140038        03-Jan-2014   5100673086      4,652.00   17-Feb-2014    06-Jan-2014      03-Feb-2014 HKG2464364            02-Feb-2014                   04-Feb-2014
10    S140039        03-Jan-2014   5100670397      4,213.20   17-Feb-2014    06-Jan-2014      03-Feb-2014 HKG2464364            02-Feb-2014                   04-Feb-2014
11    S140048        03-Jan-2014   5100677505     38,192.13   17-Feb-2014    09-Jan-2014      06-Feb-2014 HKG2464311            07-Feb-2014                   10-Feb-2014
12    S140049        03-Jan-2014   5100670399      8,630.16   17-Feb-2014    09-Jan-2014      06-Feb-2014 HKG2464311            07-Feb-2014                   10-Feb-2014
13    S140050        03-Jan-2014   5100670400     15,716.35   17-Feb-2014    09-Jan-2014      06-Feb-2014 HKG2464311            07-Feb-2014                   10-Feb-2014
14    S140051        03-Jan-2014   5100670401      6,779.01   17-Feb-2014    09-Jan-2014      06-Feb-2014 HKG2464311            07-Feb-2014                   10-Feb-2014
15    S140052        03-Jan-2014   5100671348      8,445.90   17-Feb-2014    09-Jan-2014      06-Feb-2014 HKG2464311            07-Feb-2014                   10-Feb-2014
16    S140053        03-Jan-2014   5100681156      6,676.04   17-Feb-2014    09-Jan-2014      06-Feb-2014 HKG2464311            07-Feb-2014                   10-Feb-2014
17    S140054        03-Jan-2014   5100673151      9,269.68   17-Feb-2014    09-Jan-2014      06-Feb-2014 HKG2464311            07-Feb-2014                   10-Feb-2014
18    S140055        03-Jan-2014   5100681155      4,344.04   17-Feb-2014    09-Jan-2014      06-Feb-2014 HKG2464311            07-Feb-2014                   10-Feb-2014
19    S140133        09-Jan-2014   5100669354      6,366.24   23-Feb-2014    13-Jan-2014      07-Feb-2014 SGN1225543            05-Feb-2014                   17-Feb-2014
20    S140109        10-Jan-2014   5100681150     37,529.79   24-Feb-2014    16-Jan-2014      13-Feb-2014 HKG2464789            20-Feb-2014                   24-Feb-2014
21    S140110        10-Jan-2014   5100679198      5,855.00   24-Feb-2014    16-Jan-2014      13-Feb-2014 HKG2464789            20-Feb-2014                   24-Feb-2014
22    S140111        10-Jan-2014   5100679199     85,661.16   24-Feb-2014    16-Jan-2014      13-Feb-2014 HKG2464789            20-Feb-2014                   24-Feb-2014
23    S140112        10-Jan-2014   5100679187     87,443.89   24-Feb-2014    16-Jan-2014      13-Feb-2014 HKG2464789            20-Feb-2014                   24-Feb-2014
24    S140113        10-Jan-2014   5100679192      5,952.12   24-Feb-2014    16-Jan-2014      13-Feb-2014 HKG2464789            20-Feb-2014                   24-Feb-2014
25    S140219        10-Jan-2014   5100671777     21,542.43   24-Feb-2014    16-Jan-2014      12-Feb-2014 HKG2464853            20-Feb-2014                   23-Feb-2014
26    S140220        10-Jan-2014   5100680744      5,120.70   24-Feb-2014    16-Jan-2014      13-Feb-2014 HKG2464853            20-Feb-2014                   23-Feb-2014
27    S140082        11-Jan-2014   5100678743     31,849.31   25-Feb-2014    11-Jan-2014      12-Jan-2014 By Air                13-Jan-2014                   14-Jan-2014
28    S140274        15-Jan-2014   5100680307      8,329.83   01-Mar-2014    20-Jan-2014      17-Feb-2014 HKG2465574            20-Feb-2014                   21-Feb-2014
29    S140275        15-Jan-2014   5100680308     19,954.52   01-Mar-2014    20-Jan-2014      17-Feb-2014 HKG2465574            20-Feb-2014                   21-Feb-2014
30    S142276        15-Jan-2014   5100674049     28,537.80   01-Mar-2014    20-Jan-2014      17-Feb-2014 HKG2465574            20-Feb-2014                   21-Feb-2014
31    S140277        15-Jan-2014   5100680746     14,057.00   01-Mar-2014    20-Jan-2014      17-Feb-2014 HKG2465574            20-Feb-2014                   21-Feb-2014
32    S140173        16-Jan-2014   5100682513     32,093.99   02-Mar-2014    19-Jan-2014      20-Jan-2014 By Air                21-Jan-2014                   22-Jan-2014
33    S140202        22-Jan-2014   5100681503    110,578.48   08-Mar-2014    25-Jan-2014      26-Jan-2014 By Air                27-Jan-2014                   28-Jan-2014
34    S140210        23-Jan-2014   5100671333      5,074.99   09-Mar-2014    31-Jan-2014      28-Feb-2014 HKG2467772           09-Mar-2014                    09-Mar-2014
35    S140211        23-Jan-2014   5100681160      3,589.42   09-Mar-2014    31-Jan-2014      28-Feb-2014 HKG2467772           09-Mar-2014                    09-Mar-2014
36    S140212        23-Jan-2014   5100679310      6,701.04   09-Mar-2014    31-Jan-2014      28-Feb-2014 HKG2467772           09-Mar-2014                    09-Mar-2014




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         A           B             C            D              E             F                G                  H             I                        J
 3   Invoice No.   CR Date       CPO#       Amount USD      Due Date      ETD Date         ETA Date          HBL#     Actual Arrival Date   CWC Pick Up Container Date
37    S140213      23-Jan-2014 5100680863     38,042.25     09-Mar-2014    31-Jan-2014      28-Feb-2014 HKG2467772           09-Mar-2014                    09-Mar-2014
38    S140214      23-Jan-2014 5100677509      7,413.65     09-Mar-2014    31-Jan-2014      28-Feb-2014 HKG2467772           09-Mar-2014                    09-Mar-2014
39    S140215      23-Jan-2014 5100677506     47,321.11     09-Mar-2014    31-Jan-2014      28-Feb-2014 HKG2467772           09-Mar-2014                    09-Mar-2014
40    S140216      23-Jan-2014 5100670402      8,095.60     09-Mar-2014    31-Jan-2014      28-Feb-2014 HKG2467772           09-Mar-2014                    09-Mar-2014
41    S140217      23-Jan-2014 5100670403      5,905.05     09-Mar-2014    31-Jan-2014      28-Feb-2014 HKG2467772           09-Mar-2014                    09-Mar-2014
42    S140218      23-Jan-2014 5100681108     49,305.82     09-Mar-2014    31-Jan-2014      28-Feb-2014 HKG2467772           09-Mar-2014                    09-Mar-2014
43    S140278      23-Jan-2014 5100669347     29,357.82     09-Mar-2014    27-Jan-2014      17-Feb-2014 SGN1235100            18-Feb-2014                   04-Mar-2014
44    S140229      24-Jan-2014 5100681504    113,556.50     10-Mar-2014    25-Jan-2014      26-Feb-2014 SGN1235100            18-Feb-2014                   04-Mar-2014
45    S141230      24-Jan-2014 5100686293      1,729.00     10-Mar-2014    25-Jan-2014      26-Jan-2014 By Air                27-Jan-2014                   28-Jan-2014
46    S140231      24-Jan-2014 5100686292      2,048.20     10-Mar-2014    25-Jan-2014      26-Jan-2014 By Air                27-Jan-2014                   28-Jan-2014
47    S140311      24-Jan-2014 5100678772     79,065.30     10-Mar-2014    03-Feb-2014      03-Mar-2014 HKG2467874           09-Mar-2014                    09-Mar-2014
48    S140312      24-Jan-2014 5100678774      6,089.70     10-Mar-2014    03-Feb-2014      03-Mar-2014 HKG2467874           09-Mar-2014                    09-Mar-2014
49    S140288      27-Jan-2014 5100685042     14,600.20     13-Mar-2014    28-Jan-2014      29-Jan-2014 By Air                30-Jan-2014                   31-Jan-2014
50    S140297      11-Feb-2014 5100671779       288.48      28-Mar-2014    12-Feb-2014      13-Feb-2014 By Air                14-Feb-2014                   15-Feb-2014
51    S140298      11-Feb-2014 5100678771           76.90   28-Mar-2014    12-Feb-2014      13-Feb-2014 By Air                14-Feb-2014                   15-Feb-2014
52    S140299      12-Feb-2014 5100682012           92.76   29-Mar-2014    13-Feb-2014      14-Feb-2014 By Air                14-Feb-2014                   15-Feb-2014
53    S140318      12-Feb-2014 5100685041           98.40   29-Mar-2014    12-Feb-2014      13-Feb-2014 By Air                14-Feb-2014                   15-Feb-2014
54    S140319      12-Feb-2014 5100682009       126.64      29-Mar-2014    12-Feb-2014      13-Feb-2014 By Air                14-Feb-2014                   15-Feb-2014
55    S140320      12-Feb-2014 5100682010       128.06      29-Mar-2014    12-Feb-2014      13-Feb-2014 By Air                14-Feb-2014                   15-Feb-2014
56    S140279      23-Jan-2014 5100669355      6,343.80     09-Mar-2014    27-Jan-2014      17-Feb-2014 SGN1235100            18-Feb-2014                   04-Mar-2014
57    S140307      24-Jan-2014 5100682531     95,004.95     10-Mar-2014    03-Feb-2014      03-Mar-2014 HKG2467442           07-Mar-2014                    10-Mar-2014
58    S140309      24-Jan-2014 5100673172     28,537.80     10-Mar-2014    03-Feb-2014      03-Mar-2014 HKG2467442           07-Mar-2014                    10-Mar-2014
59    S140310      24-Jan-2014 5100674084      7,121.40     10-Mar-2014    03-Feb-2014      03-Mar-2014 HKG2467442           07-Mar-2014                    10-Mar-2014
60    S140337      25-Jan-2014 5100682530     93,951.93     11-Mar-2014    03-Feb-2014      03-Mar-2014 HKG2467780           07-Mar-2014                    10-Mar-2014
61    S140338      25-Jan-2014 5100682532      9,188.97     11-Mar-2014    03-Feb-2014      03-Mar-2014 HKG2467780           07-Mar-2014                    10-Mar-2014
62    S140339      25-Jan-2014 5100685039      7,004.72     11-Mar-2014    03-Feb-2014      03-Mar-2014 HKG2467780           07-Mar-2014                    10-Mar-2014
63    S140340      25-Jan-2014 5100685042     52,160.79     11-Mar-2014    03-Feb-2014      03-Mar-2014 HKG2467780           07-Mar-2014                    10-Mar-2014
64    S140308      03-Feb-2014 5100682533      9,291.83     20-Mar-2014    03-Feb-2014      03-Mar-2014 HKG2467442           07-Mar-2014                    10-Mar-2014
65    S140313      13-Feb-2014 5100671336     79,521.82     30-Mar-2014    22-Feb-2014      22-Mar-2014 HKG2468851           20-Mar-2014                    23-Mar-2014
66    S140314      13-Feb-2014 5100671345     11,772.11     30-Mar-2014    22-Feb-2014      22-Mar-2014 HKG2468851           20-Mar-2014                    23-Mar-2014
67    S140315      13-Feb-2014 5100671343      9,721.67     30-Mar-2014    22-Feb-2014      22-Mar-2014 HKG2468851           20-Mar-2014                    23-Mar-2014
68    S140316      13-Feb-2014 5100681109     46,384.23     30-Mar-2014    22-Feb-2014      22-Mar-2014 HKG2468851           20-Mar-2014                    23-Mar-2014
69    S140317      13-Feb-2014 5100681113      7,972.77     30-Mar-2014    22-Feb-2014      22-Mar-2014 HKG2468851           20-Mar-2014                    23-Mar-2014
70    S140302      14-Feb-2014 5100681502       174.74      31-Mar-2014    14-Feb-2014      15-Feb-2014 By Air                16-Feb-2014                   17-Feb-2014
71    S140303      14-Feb-2014 510068656        105.52      31-Mar-2014    14-Feb-2014      15-Feb-2014 By Air                15-Feb-2014                   17-Feb-2014




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          A           B             C            D              E              F                G                  H             I                        J
  3   Invoice No.   CR Date       CPO#       Amount USD      Due Date      ETD Date          ETA Date          HBL#     Actual Arrival Date   CWC Pick Up Container Date
 72    S140304      14-Feb-2014 5100681501       169.18      31-Mar-2014    14-Feb-2014       15-Feb-2014 By Air                15-Feb-2014                   17-Feb-2014
 73    S140305      14-Feb-2014 5100682655       104.10      31-Mar-2014    14-Feb-2014       15-Feb-2014 By Air                15-Feb-2014                   17-Feb-2014
 74    S140334      19-Feb-2014 5100681508      6,198.98     05-Apr-2014    26-Feb-2014       26-Mar-2014 HKG2469470           17-Mar-2014                    25-Mar-2014
 75    S140335      19-Feb-2014 5100679197      3,425.12     05-Apr-2014    26-Feb-2014       26-Mar-2014 HKG2469470           17-Mar-2014                    25-Mar-2014
 76    S140336      19-Feb-2014 5100679196      3,481.94     05-Apr-2014    26-Feb-2014       26-Mar-2014 HKG2469470           17-Mar-2014                    25-Mar-2014
 77    S140331      19-Feb-2014 5100678744     47,260.28     05-Apr-2014    20-Feb-2014       21-Feb-2014 By Air                22-Feb-2014                   23-Feb-2014
 78    S140377      20-Feb-2014 5100674085      7,195.80     06-Apr-2014    24-Feb-2014       16-Mar-2014 HKG2469506           17-Mar-2014                    25-Mar-2014
 79    S140378      20-Feb-2014 5100669360     21,400.80     06-Apr-2014    24-Feb-2014       16-Mar-2014 HKG2469506           17-Mar-2014                    25-Mar-2014
 80    S140379      20-Feb-2014 5100685040      6,863.04     06-Apr-2014    24-Feb-2014       16-Mar-2014 HKG2469506           17-Mar-2014                    25-Mar-2014
 81    S140380      20-Feb-2014 5100685043     32,607.41     06-Apr-2014    24-Feb-2014       16-Mar-2014 HKG2469506           17-Mar-2014                    25-Mar-2014
 82    S140422      20-Feb-2014 5100678773     24,539.90     06-Apr-2014    26-Feb-2014       16-Mar-2014 HKG2469360           17-Mar-2014                    25-Mar-2014
 83    S140423      20-Feb-2014 5100678775      9,781.40     06-Apr-2014    26-Feb-2014       16-Mar-2014 HKG2469360           17-Mar-2014                    25-Mar-2014
 84    S140332      20-Feb-2014 5100681507      8,615.60     06-Apr-2014    20-Feb-2014       21-Feb-2014 By Air                22-Feb-2014                   23-Feb-2014
 85    S140365      21-Feb-2014 5100678779      9,205.26     07-Apr-2014    24-Feb-2014       16-Mar-2014 SGN1246376           17-Mar-2014                    25-Mar-2014
 86    S140366      21-Feb-2014 5100678776     38,646.18     07-Apr-2014    24-Feb-2014       16-Mar-2014 SGN1246376           17-Mar-2014                    25-Mar-2014
 87    S140367      21-Feb-2014 5100678778      6,602.46     07-Apr-2014    24-Feb-2014       16-Mar-2014 SGN1246376           17-Mar-2014                    25-Mar-2014
 88    S140368      21-Feb-2014 5100678777     25,671.90     07-Apr-2014    24-Feb-2014       16-Mar-2014 SGN1246376           17-Mar-2014                    25-Mar-2014
 89    S140375      27-Feb-2014 5100681505     32,284.80     13-Apr-2014    02-Mar-2014       03-Mar-2014 By Air               04-Mar-2014                    05-Mar-2014
 90    S140376      27-Feb-2014 5100681506     32,122.20     13-Apr-2014    02-Mar-2014       03-Mar-2014 By Air               04-Mar-2014                    05-Mar-2014
 91    S140391      27-Feb-2014 5100680912     61,603.48     13-Apr-2014    07-Mar-2014       03-Apr-2014 HKG2470983            03-Apr-2014                   04-Apr-2014
 92    S140392      27-Feb-2014 5100680913      7,931.73     13-Apr-2014    07-Mar-2014       03-Apr-2014 HKG2470983            03-Apr-2014                   04-Apr-2014
 93    S140393      27-Feb-2014 5100682514     32,728.67     13-Apr-2014    07-Mar-2014       03-Apr-2014 HKG2470983            03-Apr-2014                   04-Apr-2014
 94    S140394      27-Feb-2014 5100682516     24,170.47     13-Apr-2014    07-Mar-2014       03-Apr-2014 HKG2470983            03-Apr-2014                   04-Apr-2014
 95    S140395      27-Feb-2014 5100680867     10,384.71     13-Apr-2014    07-Mar-2014       03-Apr-2014 HKG2470983            03-Apr-2014                   04-Apr-2014
 96    S140396      27-Feb-2014 5100680865     25,222.19     13-Apr-2014    07-Mar-2014       03-Apr-2014 HKG2470983            03-Apr-2014                   04-Apr-2014
 97    S140436      27-Feb-2014 5100679276     35,224.20     13-Apr-2014    03-Mar-2014       02-Apr-2014 HKG2470983            03-Apr-2014                   04-Apr-2014
 98    S140437      28-Feb-2014 5100680896     13,280.99     14-Apr-2014    07-Mar-2014       03-Apr-2014 HKG2470376            03-Apr-2014                   04-Apr-2014
 99    S140438      28-Feb-2014 5100680899     10,658.50     14-Apr-2014    07-Mar-2014       03-Apr-2014 HKG2470376            03-Apr-2014                   04-Apr-2014
100    S140433      07-Mar-2014 5100684557           88.58   21-Apr-2014    08-Mar-2014       12-Mar-2014 By Air               13-Mar-2014                    14-Mar-2014
101    S140434      07-Mar-2014 5100684558           88.58   21-Apr-2014    08-Mar-2014       12-Mar-2014 By Air               13-Mar-2014                    14-Mar-2014
102    S140461      07-Mar-2014 5100682014     78,532.35     21-Apr-2014    07-Mar-2014       28-Mar-2014 HKG2470120           31-Mar-2014                    01-Apr-2014
103    S140462      07-Mar-2014 5100682017      7,967.70     21-Apr-2014    07-Mar-2014       28-Mar-2014 HKG2470120           31-Mar-2014                    01-Apr-2014
104    S140419      13-Mar-2014 5100683565     15,526.88     27-Apr-2014    16-Mar-2014       01-Apr-2014 HKG2472318            01-Apr-2014                   15-Apr-2014
105    S140463      13-Mar-2014 5100686531      7,159.43     27-Apr-2014    09-Mar-2014       10-Mar-2014 By Air               11-Mar-2014                    12-Mar-2014




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          A           B             C            D             E              F                G                  H             I                        J
 3    Invoice No.   CR Date       CPO#       Amount USD     Due Date      ETD Date          ETA Date          HBL#     Actual Arrival Date   CWC Pick Up Container Date
106    S140464      13-Mar-2014 5100686532       7,848.20   27-Apr-2014    09-Mar-2014       10-Mar-2014 By Air               11-Mar-2014                    12-Mar-2014
107                            Total(USD):   2,300,484.42




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